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CIDERED in the Southern District ofl"lorida on ocT - g 2018

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Laurcl/i\/lyerson lsicoff`, Chief!ah/g¢/
llnilcd Slzitcs Bankruptcy Court

 

 

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

CASE NO.: 13-21651-BKC-LMI

IN RE¢ PROCEEDING UNDER CHAPTER 13

RUBY WILSON

DEBTOR /

 

ORDER REINSTATING CHAPTER 13 CASE

 

 

This matter came to be heard on October Q 2018, on the debtor's motion to reinstate case. The court, if applicab|e,
has entered an order reopening the case and the debtor has paid all required reopening fees. Based on the record, it is

Ordered as follows:

l. The motion is granted and this case is REINSTATED. Pursuant to l 1 U.S.C. §362(c)(2)(B), the automatic stay
terminated on the date this case was dismissed and was not in effect from that date until the entry of this order.

2. The Trustee's Final Report, if any filed, is deemed withdrawn and the Order Discharging Trustee, if entered, is
deemed vacated.

3. If not previously filed, any and all documents required to be filed by the debtor(s) under ll U.S.C. §521(a)(l),
Bankruptcy Rule 1007, and Local Rule 1007-l shall be filed no later than 14 days after entry of this order.

 

 

 

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4_ The following checked provision(s) also apply:

[ ] This case was dismissed prior to the conclusion of the meeting of creditors, under 11 U.S.C. §341. A new
§341 meeting of creditors and continuation hearing shall be set and noticed to all parties of record by the Clerk of
Court. The notice shall also establish a new deadline to file a proof of claim and deadline to file a motion
objecting to discharge under § 1 328(1) or to file a complaint objecting to dischargeability of certain debts.

[ ] This case was dismissed af`ter the §341 meeting of creditors was concluded but prior to or at the hearing on
confirmation (If applicable) A further §341 meeting will be conducted at CLAUDE PEPPER FEDERAL

 

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[ ] This case was dismissed after the §341 meeting of creditors was conducted and after the expiration of the
deadline to file a motion objecting to discharge under §l328(f) or to file a complaint objecting to dischargeability
of certain debts and the original deadline to file claims, but prior to or at the hearing on confirmation No new
deadlines shall be reset. (If applicable) A further §341 meeting will be conducted at CLAUDE PEPPER
FEDERAL BUILDING g w FIRST AVENUE, ROOM 102. MIAMI. g 33130. A new confirmation hearing

is scheduled for , at at UNITED STATES BANKRUPTCY COURT. g CLYDE ATKINS UNITED STATES
COURTHOUSE. 301 NORTH MIAMI AVENUE, COURTROOM 8. MIAMI. FL 33128.

 

 

[X] This case was dismissed after the §341 meeting of creditors and confirmation hearing and expiration of the
deadline to file a motion objecting to discharge under §1328(1) or to file a complaint objecting to dischargeability
of certain debts and the original claims bar date. No new §341 meeting, confirmation hearing, or deadlines shall
be set, and the case shall proceed in the normal course under the continued plan.

[X] If this box is checked, the following provision applies:

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Prepared By:

NANCY K. NEIDICH, ESQUIRE
STANDING CHAPTER 13 TRUSTEE
P.O. BOX 279806

MIRAMAR, FL 33027-9806

Copies to:

All parties of record by the Clerk of Court.

 

